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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 ENBRIDGE ENERGY, LIMITED
 PARTNERSHIP, ENBRIDGE ENERGY
 COMPANY, INC., and ENBRIDGE ENERGY
 PARTNERS, L.P.,                                     No. 1:20-cv-01141-JTN-RSK

        Plaintiffs,                                  HON. ROBERT J. JONKER

 v

 GRETCHEN WHITMER, the Governor of the
 State of Michigan in her official capacity, and
 SCOTT BOWEN, Director of the Michigan
 Department of Natural Resources in his
 official capacity,

        Defendants.


        DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                     PLAINTIFFS’ COMPLAINT

       Defendants Gretchen Whitmer, in her official capacity as Governor of the

 State of Michigan, and Scott Bowen, in his official capacity as Director of the

 Michigan Department of Natural Resources (DNR) 1 (together, the State Officials),

 by and through their attorneys, state as follows for their answer and affirmative

 defenses to Plaintiffs’ (collectively, Enbridge) complaint:




 1 Scott Bowen has succeeded Daniel Eichinger as Director of the Michigan

 Department of Natural Resources and is automatically substituted for former
 Director Eichinger as a defendant in this matter. Fed. R. Civ. P. 25(d).


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                                 NATURE OF CASE

       1.     This Complaint challenges on federal constitutional grounds

 Defendants’ attempts to shut down an interstate, international pipeline owned and

 operated by Enbridge. This pipeline, known as Line 5, has been transporting

 petroleum products safely from Wisconsin, through Michigan, and to Ontario,

 Canada for over 65 years. Those petroleum products serve major refineries in the

 U.S. Midwest and in Canada and many thousands of consumers across Michigan

 and the region. On November 13, 2020, Defendants Whitmer and Eichinger served

 what they characterized as a “Notice” purporting to revoke and terminate an

 easement that has been valid and in effect since 1953, and they directed Enbridge

 to cease operating the Dual Pipelines, a 4-mile portion of Line 5 located along that

 easement in the Straits of Mackinac within 180 days. This Notice, effectively a

 Shutdown Order, was based on Defendants’ stated concern that the continued

 operation of the Dual Pipelines is not safe, even though the Pipelines have never

 released any product into the Straits during the entirety of their existence.

 ANSWER: The State Officials admit only the following: Line 5 transports

 petroleum products from Wisconsin, through Michigan, and to Ontario,

 Canada; on November 13, 2020, Governor Whitmer and former DNR

 Director Eichinger issued the Notice of Revocation and Termination of

 Easement attached to the complaint, which speaks for itself; and the

 complaint challenges that Notice, in part, on federal constitutional

 grounds. (ECF No. 1-1.) The State Officials deny the remaining allegations




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 in this paragraph because they are either untrue or the State Officials lack

 knowledge and information sufficient to form a belief as to their truth.

       2.     Defendants’ November 13 Shutdown Order reflects a local policy that,

 on its face, interferes with the comprehensive federal regulation of pipeline safety,

 impermissibly burdens and discriminates against interstate and foreign commerce,

 and hinders the United States’ ability to “speak with one voice” with respect to

 transboundary shipments by pipeline. If enforced by judicial ruling, the Shutdown

 Order would create a disturbing precedent whereby other jurisdictions could take

 copycat actions and thereby impede interstate and international commerce in

 petroleum and other products. Only the Federal Government may determine,

 taking into account competing interests within the Nation as a whole, whether

 safety or other local conditions warrant the shutdown of Line 5.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials deny the allegations in this paragraph.

       3.     Enbridge seeks a declaratory order that federal law preempts

 Defendants from attempting to regulate Line 5’s operation and maintenance on

 pipeline safety grounds. The federal Pipeline Safety Act, 49 U.S.C. §§ 60101, et seq.,

 expressly preempts States from regulating the safety of interstate pipelines.

 49 U.S.C. § 60104(c).

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit




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 only that Enbridge seeks the relief described in its Prayer for Relief. The

 State Officials deny the remaining allegations in this paragraph.

       4.     Enbridge also seeks a declaratory order that, by seeking the closure of

 Line 5, Defendants have violated the Commerce Clause of the U.S. Constitution, the

 Foreign Commerce Clause of the U.S. Constitution, and the Foreign Affairs Powers

 of the U.S. Constitution.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit

 only that Enbridge seeks the relief described in its Prayer for Relief. The

 State Officials deny the remaining allegations in this paragraph.

       5.     Enbridge also seeks to enjoin Defendants from taking steps to impede

 or prevent the operation of Line 5 in interstate and foreign commerce, including

 enforcement of the November 13 Shutdown Order.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit

 only that Enbridge seeks the relief described in its Prayer for Relief. The

 State Officials deny the remaining allegations in this paragraph.


                                      PARTIES

       6.     Plaintiff Enbridge Energy, Limited Partnership is a Delaware limited

 partnership conducting business in Michigan, with its principal place of business

 located at 5400 Westheimer Court, Houston, Texas 77056.

 ANSWER: The State Officials neither admit nor deny the allegations in



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 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

       7.     Plaintiff Enbridge Energy Company, Inc., is a Delaware corporation

 conducting business in Michigan, with its principal place of business located at 5400

 Westheimer Court, Houston, Texas 77056.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

       8.     Plaintiff Enbridge Energy Partners, L.P., is a Delaware limited

 partnership conducting business in Michigan, with its principal place of business

 located at 5400 Westheimer Court, Houston, Texas 77056.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

       9.     Defendant Gretchen Whitmer was elected as Governor of the State of

 Michigan on January 1, 2019 and since that time has served as Governor.

 ANSWER: Denied as stated. The State Officials admit that Governor

 Whitmer was inaugurated on January 1, 2019, and since that time has

 served as Governor of the State of Michigan.

       10.    Defendant Daniel Eichinger serves as Director of the Michigan

 Department of Natural Resources.

 ANSWER: Denied. Scott Bowen succeeded Daniel Eichinger as Director of




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 the DNR on September 5, 2023. Director Bowen is automatically

 substituted as a party under Federal Rule of Civil Procedure 25(d).

        11.    All named defendants are sued in their official capacities under the

 rule of Ex Parte Young.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit

 that the State Officials have been sued in their official capacities and deny

 that the rule of Ex parte Young applies to this action.


                            JURISDICTION AND VENUE

        12.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

 § 1331 and 28 U.S.C. § 2201, because this action arises under the U.S. Constitution

 and laws of the United States. This Court also has jurisdiction over this action

 pursuant to 28 U.S.C. § 1337, because this action arises under an act of Congress

 regulating commerce, specifically, the Pipeline Safety Act.

 ANSWER: Denied.

        13.    Venue is proper in the Western District of Michigan under 28 U.S.C.

 § 1391(b) in that, upon information and belief, all Defendants maintain offices

 and/or reside in Lansing, which is within the Western District. Further, a

 substantial part of the events giving rise to Enbridge’s claims occurred in this

 district, and the property that is the subject of the action is situated in this district.

 ANSWER: Admitted.




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       14.    This Court has personal jurisdiction over the Defendants as each is a

 citizen of and resides in the State.

 ANSWER: Admitted.


                              FACTUAL ALLEGATIONS

                        Line 5’s construction and operation

       15.    Enbridge is the owner and operator of Line 5. It transports petroleum

 products on Line 5 in accordance with applicable federal requirements imposed

 under the Interstate Commerce Act, Pipeline Safety Act and other federal statutes.

 ANSWER: The State Officials admit only that Enbridge is the owner and

 operator of Line 5 and that Enbridge transports petroleum products on

 Line 5. The remaining allegations in this paragraph are legal conclusions

 which require no response. To the extent an answer is required, the State

 Officials neither admit nor deny the remaining allegations in this

 paragraph due to lack of knowledge and information sufficient to form a

 belief as to their truth.

       16.    Line 5 is a 645-mile pipeline built in 1953. Beginning in northwestern

 Wisconsin, Line 5 stretches into the Upper Peninsula of Michigan, crosses the

 Straits of Mackinac, and cuts down through the Lower Peninsula before crossing

 the U.S.-Canada international boundary, where the pipeline ends in Sarnia,

 Ontario. Line 5’s crossing of the international boundary is federally authorized by a

 Presidential Permit issued to Enbridge for Line 5. President Dwight D. Eisenhower

 issued this Permit on April 28, 1953 to authorize the construction, operation and


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 maintenance of the Pipeline at the border crossing, and thereby facilitate foreign

 commerce.

 ANSWER: The State Officials admit only that Line 5 begins in

 northwestern Wisconsin, stretches into the Upper Peninsula of Michigan,

 crosses the Straits of Mackinac, and cuts down through the Lower

 Peninsula before crossing the U.S.-Canada international boundary, where

 the pipeline ends in Sarnia, Ontario. The State Officials neither admit nor

 deny the remaining allegations in this paragraph due to lack of knowledge

 and information sufficient to form a belief as to their truth.

       17.    At the point where it crosses the Straits of Mackinac, Line 5 splits into

 two 20” pipelines—known as the Dual Pipelines—that run on the lake floor and

 reunite on the southern side of the Straits. The Line 5 Dual Pipelines were

 specifically designed to surpass all requirements for long-term safe operation in the

 submerged waters of the Straits. The Dual Pipelines are seamless and nearly three

 times as thick as typical pipelines. They are also operated in low-oxygen and

 therefore non-corrosive environment at the bottom of the Straits and are further

 protected from corrosion by coating and by effective cathodic protection, a technique

 used to prevent corrosion through an electric current. Unsupported spans that

 develop as the result of natural water current action are controlled by the use of

 anchor supports that stabilize the Lines. In addition, the Dual Pipelines are

 operated at a considerably lower pressure than normal for pipelines of their size

 and type to ensure the longevity of their safe operation.




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 ANSWER: The State Officials admit only that, at the point where it crosses

 the Straits of Mackinac, Line 5 splits into two 20” pipelines, sometimes

 known as the Dual Pipelines (alternatively, the Straits Pipelines), which

 reunite on the southern side of the Straits. The State Officials deny the

 remaining allegations in this paragraph because they are either untrue or

 the State Officials lack knowledge and information sufficient to form a

 belief as to their truth.

       18.    Prior to the construction of Line 5, Enbridge’s predecessor submitted

 an easement application to lay the Dual Pipelines in the Straits. On April 23, 1953,

 the Michigan Conservation Commission granted the easement pursuant to Act No.

 10, PA 1953. The 1953 easement imposed specific safety standards in the

 construction, testing, operation, and maintenance of the Dual Pipelines.

 ANSWER: The State Officials admit only that Enbridge’s predecessor

 submitted an easement application to lay the Dual Pipelines in the Straits

 and that, on April 23, 1953, the Michigan Conservation Commission

 granted an easement pursuant to Act No. 10 PA 1953. That easement is

 attached to the complaint (ECF No. 1-1, PageID.43–55) and speaks for itself.

 The State Officials deny Enbridge’s characterization of the terms of the

 easement.


                             Federal Regulation of Line 5

       19.    Subsequently, Congress enacted the Pipeline Safety Act and vested a

 federal agency—now the Pipeline and Hazardous Materials Safety Administration



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 (“PHMSA”)—with exclusive authority to regulate pipeline safety. This Act

 expressly provides that a “State authority may not adopt or continue in force safety

 standards for interstate pipeline facilities or interstate pipeline transportation.”

 49 U.S.C. § 60104(c).

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit

 that Congress enacted the Pipeline Safety Act subsequent to the issuance

 of the 1953 easement. The State Officials further admit that this

 paragraph quotes part of 49 U.S.C. § 60104(c), which speaks for itself. The

 State Officials deny the remaining allegations in this paragraph.

       20.    PHMSA comprehensively regulates pipeline safety. Line 5 is subject to

 PHMSA’s comprehensive safety regulations and requirements.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials admit

 only that Line 5 is subject to safety regulations and requirements

 promulgated by PHMSA. The State Officials deny the remaining

 allegations in this paragraph.

       21.    Pursuant to its authority vested by Congress, PHMSA has authority to

 issue orders prohibiting operations on a pipeline due to safety concerns, or to impose

 operational restrictions to ensure the safe operation of a pipeline.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials neither




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 admit nor deny the allegations in this paragraph due to lack of knowledge

 and information sufficient to form a belief as to their truth.

       22.    In compliance with PHMSA requirements and subject to PHMSA

 oversight, Enbridge implements integrity and operational controls designed to

 ensure the safe operation of the Line 5 Dual Pipelines. This includes, but is not

 limited to: hydrotesting the Pipelines with water injected at pressures higher than

 maximum normal operating pressures in order to ensure their integrity and fitness

 for service; confirming the safety and integrity of the interior of the Pipelines with

 in-line inspections that identify any features (e.g., corrosion) that could impair the

 safe operation of the pipelines; exterior inspections using divers and remote

 operated vehicles to identify any disturbances or damage, such as to the Pipelines’

 coating and repairing identified coating disturbances; maintaining the proper

 physical support of the pipeline; maintaining a cathodic protection system that,

 using an electric current, prevents corrosion to the exterior of the pipe; and

 implementing control room procedures to closely monitor the operation of the

 Pipelines 24-hours per day, 7 days per week and to shut down the Pipelines if any

 potential safety issue is identified.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials neither

 admit nor deny the allegations in this paragraph due to lack of knowledge

 and information sufficient to form a belief as to their truth.




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       23.    In addition, to ensure the safe operation of the Line 5 Dual Pipelines in

 accord with PHMSA regulations, Enbridge implements measures—collectively

 referred to as Enbridge’s Maritime Pipeline Protection Program or “EMP3”—to

 protect the Pipelines from a vessel anchor strike. A series of the EMP3 measures,

 developed in conjunction with maritime experts, are specifically designed to

 monitor, observe, and communicate with vessels 24 hours per day, 7 days per week

 that may pose an anchor strike risk to the Line 5 Dual Pipelines. Should any

 anchor strike risk be identified that cannot be resolved, Enbridge’s measures

 require the immediate shutdown of the Line 5 Dual Pipelines to mitigate the

 impacts of a potential release.

 ANSWER: This paragraph contains legal conclusions which require no

 response. To the extent an answer is required, the State Officials neither

 admit nor deny the allegations in this paragraph due to lack of knowledge

 and information sufficient to form a belief as to their truth.

       24.    Before accounting for any of the extraordinary measures taken by

 Enbridge to reduce the risk of an anchor strike, the Attorney General of Michigan

 acknowledged that based on a State-commissioned 2017 study of the Dual Pipelines

 undertaken by Dynamic Risk Assessment Systems, and cited in the Notice, the risk

 of failure of the Dual Pipelines from vessel anchor strikes is an exceedingly low

 0.0476% per year.

 ANSWER: The State Officials admit only that the Attorney General’s

 complaint in Nessel v. Enbridge, Ingham County Circuit Court Case No. 19-




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 474-CE, and the Notice both cite a State-commissioned report issued in

 2017 by Dynamic Risk Assessment Systems, Inc., which speaks for itself.

 The State Officials deny the remaining allegations in this paragraph.

       25.    A recent assessment by C-FER Technologies (“C-FER”), a not-for-profit

 subsidiary of an Alberta agency, Alberta Innovates, concluded in a September 30,

 2020 study that the EMP3 measures implemented by Enbridge reduce the risk of a

 failure of the Line 5 Dual Pipelines caused by intentional or unintentional anchor

 strike by more than 99% relative to the absence of any measures. Accordingly, the

 chances of an anchor strike causing a failure of the Dual Pipelines is vanishingly

 small, as further evidenced by the over 65 years of their safe operation.

 ANSWER: The State Officials deny that the chances of an anchor strike

 causing a failure of the Dual Pipelines are “vanishingly small,” as

 evidenced by, among other things, the two anchor strikes or similar events

 that required the pipelines to be shut down in 2018 and 2020, the Dynamic

 Risk report’s finding of a one-in-sixty likelihood of a rupture, and other

 expert analyses. The State Officials neither admit nor deny the remaining

 allegations in this paragraph due to lack of knowledge and information

 sufficient to form a belief as to their truth.

       26.    PHMSA, in its role as the exclusive regulator of the safety of the Line 5

 Dual Pipelines, has regularly inspected and audited the safety and integrity of the

 Pipelines’ crossing of the Straits. For example, in 2015, PHMSA retained an

 independent expert, LaMontagne Pipeline Assessment Corporation, to audit the




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 Line 5 Dual Pipelines’ fitness for service and safe operation, consistent with

 49 C.F.R. Part 195. That expert issued a report on May 12, 2016, confirming that

 the Line 5 Dual Pipelines are safe to operate based on extensive inspection data.

 Similarly, following the discovery of disturbances to the Line 5 Dual Pipelines

 coating and damage to one of the Pipelines’ support anchors in 2020 (but not to the

 Dual Pipelines themselves), PHMSA closely reviewed data concerning the Line 5

 Dual Pipelines, including stress analyses, engineering assessments, historical

 remotely-operated vehicle recordings, diver inspection forms, and in-line inspection

 data. As a result of that review, PHMSA confirmed in the last several months that

 the Dual Pipelines are fit for service and safe to operate. The State did not question

 and appropriately deferred to PHMSA’s determination that the Dual Pipelines were

 safe to operate.

 ANSWER: The State Officials admit only: that, following the discovery of

 damage to the Pipelines’ anchor supports due to an anchor strike or

 similar event in 2020, Enbridge resumed pipeline operations without

 adequate consultation with the State, and refused to share its safety

 inspection information as required; that, in response to a motion by

 Michigan’s Attorney General, the state court issued a temporary

 restraining order in Nessel v. Enbridge, Ingham County Circuit Court Case

 No. 19-474-CE, requiring a temporary shutdown of the pipelines, and

 requiring Enbridge to share relevant data with the State as well as

 PHMSA; that, after the TRO was issued, both PHMSA and the State




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 reviewed data concerning the Pipelines and concluded that operations

 could resume; and that Michigan’s Attorney General did not oppose the

 termination of the TRO after those inspections. The State Officials neither

 admit nor deny the remaining allegations in this paragraph due to lack of

 knowledge and information sufficient to form a belief as to their truth.

       27.      The Line 5 Dual Pipelines have never released any product into the

 Straits.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.


             Line 5 serves shippers in interstate and foreign commerce

       28.      On Line 5, Enbridge transports in federally-regulated common

 carriage up to 540,000 barrels per day of light crude oil, light synthetic crude oil,

 and natural gas liquids (NGLs) for shippers in interstate and foreign commerce.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

       29.      The products transported by Line 5 originate in several States as well

 as Canada and are transported by other lines to a tank terminal in Superior,

 Wisconsin, which is the origin point of Line 5. Line 5 also receives product at

 Lewiston, Michigan, where local Michigan crude oil is collected and transported to

 U.S. and Canadian refineries. Line 5 has transported 14,000 barrels per day of



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 Michigan-produced crude, amounting to a total of approximately 80 million barrels,

 since it entered service in 1953. Line 5 is responsible for transporting about 70

 percent of the total Michigan crude oil production.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

        30.    Line 5 delivers crude oil in the United States, at Marysville, Michigan,

 and pursuant to its Presidential Permit, in Canada, at several sites in Sarnia,

 Ontario. From the Marysville delivery point, Line 5 supplies the Marathon Detroit

 refinery and two refineries in Toledo, Ohio. At Sarnia, Line 5 supplies three

 refineries with Canadian and US-originated crude oil. In Ontario, Line 5 is also

 connected to other Enbridge pipelines that transport crude oil to refineries in

 western Pennsylvania; Nanticoke, Ontario; and Quebec. Line 5 supplies a total of

 10 refineries in the United States and Canada. The crude oil transported by Line 5

 constitutes approximately 40 percent of the total crude oil demand for those 10

 refineries.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.

        31.    The NGLs handled by Line 5 are transported to Rapid River, Michigan

 and Sarnia. At Rapid River, there is a separation facility (“depropanizer”) that

 extracts propane from the NGLs, and returns unneeded butane to Line 5 for further




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 transport. The Rapid River depropanizer is a key source of propane supply for the

 Upper Peninsula, supplying approximately 65% of the propane needs of

 Michiganders who live and work there. The remainder of NGLs are transported by

 Line 5 to Sarnia, where a large fractionation facility is located. That fractionation

 facility produces both propane and butanes, and services the Michigan and Eastern

 Canada propane markets. The butanes produced by Line 5-transported NGLs are

 feedstocks for regional petrochemical facilities and refineries.

 ANSWER: The State Officials neither admit nor deny the allegations in

 this paragraph due to lack of knowledge and information sufficient to

 form a belief as to their truth.


                     Defendants’ Actions to Shut Down Line 5

       32.    On November 13, 2020, Defendants Gretchen Whitmer and Daniel

 Eichinger issued the Shutdown Order, which they characterized as a Notice of

 Revocation and Termination of Easement. See Exhibit 1.

 ANSWER: The State Officials admit that, on November 13, 2020, Governor

 Whitmer and former Director Eichinger issued the Notice of Revocation

 and Termination of Easement attached to the complaint as Exhibit 1. The

 State Officials deny Enbridge’s characterization of that Notice as a

 “Shutdown Order.”

       33.    That Shutdown Order asserts that “the State is revoking and

 terminating the 1953 Easement” because of the State’s obligation to protect the

 Straits and based on Enbridge’s longstanding, persistent, and incurable violations



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 of the Easement’s conditions and standard of due care.” Notice at 1.

 ANSWER: The State Officials admit only that this paragraph quotes parts

 of the Notice of Revocation and Termination of Easement, which is

 attached to the complaint and speaks for itself. (ECF No. 1-1, PageID.22.)

 The State Officials deny the remaining allegations in this paragraph.

        34.    Without noting that the Line 5 Dual Pipelines have never released any

 product in their over 65 year existence and omitting numerous other critical and

 relevant facts, the Shutdown Order asserts that termination and revocation of the

 1953 Easement is warranted based on speculative fears about the safe operation of

 the Line 5 Dual Pipelines. Specifically, the Shutdown Order purports to provide for

 termination of the 1953 Easement because “transporting millions of gallons of

 petroleum products each day through 67-year old pipelines that lie exposed in the

 Straits” creates a “very real risk” of a release and “catastrophic effects if an oil spill

 occurs at the Straits.” While providing no evidence to support these allegations, the

 Shutdown Order purports to justify termination based on Enbridge’s alleged failure

 to satisfy a requirement in Paragraph A of the Easement regarding the “exercise

 the due care of a reasonably prudent person” or to satisfy certain more specific

 safety standards set forth in the 1953 Easement, including: (i) Paragraph A.4,

 which provides that the “minimum curvature of any section of pipe shall be no less

 than two thousand and fifty (2,050) feet radius”; (ii) Paragraph A.9, which provides

 that “[a]ll pipe shall be protected by asphalt primer coat, by inner wrap and outer

 wrap composed of glass fiber material and one which by four inch (1” x 4”) slats,




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 prior to installation”; and (iii) Paragraph A.10, which provides the “maximum span

 or length of pipe unsupported shall not exceed seventy-five (75) feet.”

 ANSWER: The State Officials admit only that this paragraph quotes parts

 of Notice of Revocation and Termination of Easement and the 1953

 Easement, which are attached to the complaint and speak for themselves.

 (See ECF No. 1-1, PageID.26–27, 32–33, 45–47.) The State Officials deny the

 remaining allegations in this paragraph.


                                       COUNT I

                        Violation of the Supremacy Clause

       35.    Enbridge repeats and realleges each and every allegation in

 Paragraphs 1 through 34 as through fully set forth herein.

 ANSWER: The State Officials repeat each and every answer to the

 allegations in paragraphs 1 through 34 as though fully set forth herein.

       36.    Article VI, paragraph 2 of the U.S. Constitution provides: “This

 Constitution, and the laws of the United States which shall be made in pursuance

 thereof; and all treaties made, or which shall be made, under the authority of the

 United States, shall be the supreme law of the land; and the judges in every state

 shall be bound thereby, anything in the Constitution or laws of any State to the

 contrary notwithstanding.”

 ANSWER: Admitted.

       37.    Congress enacted the federal Pipeline Safety Act “to provide adequate

 protection against risks to life and property posed by pipeline transportation and


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 pipeline facilities by improving the regulatory and enforcement authority of the

 Secretary of Transportation.” 49 U.S.C. § 60102(a)(1).

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit that this paragraph quotes part of 49 U.S.C. § 60102(a)(1),

 which speaks for itself. The State Officials deny the remaining allegations

 in this paragraph.

       38.      Congress directed the U.S. Secretary of Transportation to prescribe

 minimum safety standards for pipeline transportation and for pipeline facilities.

 49 U.S.C. § 60102(a)(2). The safety standards shall be designed to meet the need for

 “safely transporting hazardous liquids” and “protecting the environment.”

 49 U.S.C. § 60102(b)(1)(B)(ii). This federal regulation of pipelines includes the

 safety of all interstate pipelines, including those that are located on submerged

 bottomlands.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit that this paragraph paraphrases 49 U.S.C. § 60102(a)(2) and

 quotes part of 49 U.S.C. § 60102(b)(1), which speak for themselves. The

 State Officials lack knowledge and information sufficient to form a belief

 as to the truth of the remaining allegations in this paragraph and

 therefore deny the same.




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       39.    Under that authority, the Secretary of Transportation, through its sub-

 agency PHMSA, has promulgated an extensive body of federal safety regulations

 that govern the construction and operation of pipelines like the one at issue here.

 See Transportation of Hazardous Liquids by Pipeline, 49 C.F.R. § 195 et seq.

 PHMSA’s safety regulations address matters such as corrosion, cracking and strain

 on interstate pipelines, among a broad range of other safety matters addressed in

 its regulations.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit that the Department of Transportation promulgated the

 regulations in 49 C.F.R. Part 195, which speak for themselves. The State

 Officials lack knowledge and information sufficient to form a belief as to

 the truth of the remaining allegations in this paragraph and therefore

 deny the same.

       40.    PHMSA possesses exclusive authority to issue an order providing for

 the shutdown of an interstate pipeline based on safety concerns, or to impose

 operational restrictions to ensure the safe operation of a pipeline. See Pipeline

 Safety Act at 49 U.S.C. § 60117(o); 49 C.F.R. § 190.236; 49 C.F.R. § 190.233;

 49 C.F.R. § 190.239. In exercising this authority, the statute recognizes the wide-

 ranging implications of ordering a pipeline to close and thereby directs PHMSA to

 consider the impact of any shutdown order on (1) public health and safety, (2) the

 national or regional economy or national security and (3) the ability of pipeline




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 owners and operators to maintain reliability and continuity of services to customers.

 The statute further requires that PHMSA consult with appropriate federal and

 state agencies and entities knowledgeable in pipeline safety or operations before

 ordering a pipeline to shut down. The statute assigns no role to a state to force

 closure of a federally-regulated interstate pipeline such as Line 5.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit only that PHMSA possesses some authority pursuant to

 49 U.S.C. § 60117(o), 49 C.F.R. § 190.236, 49 C.F.R. § 190.233, and 49 C.F.R.

 § 190.239, which speak for themselves. The State Officials lack knowledge

 and information sufficient to form a belief as to the truth of the remaining

 allegations in this paragraph and therefore deny the same.

       41.    Congress included in the Pipeline Safety Act a section entitled

 “Preemption,” which provides: “A State authority may not adopt or continue in

 force safety standards for interstate pipeline facilities or interstate pipeline

 transportation.” 49 U.S.C. § 60104(c).

 ANSWER: The State Officials admit only that this paragraph quotes part

 of 49 U.S.C. § 60104(c), which is included in the Pipeline Safety Act and

 speaks for itself. The State Officials deny the remaining allegations in this

 paragraph.

       42.    Through the Shutdown Order, Defendants seek to shut down Line 5’s

 operations based on their view that Line 5 does not satisfy safety standards




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 asserted by Michigan, including those identified in the 1953 Easement and now

 sought to be enforced against Enbridge through termination of the Easement.

 Defendants’ attempt to shut down Line 5 on the basis of the various safety

 standards described in the Shutdown Order is preempted by the Pipeline Safety Act

 and accompanying regulations, and contrary to the carefully crafted factors that

 PHMSA is required to consider and balance before ordering the closure of an

 interstate pipeline. As a result, Defendants’ actions violate the Supremacy Clause.

 ANSWER: Denied.

       43.      Enbridge seeks a declaration from this Court that federal law,

 including the Pipeline Safety Act, preempts Defendants’ efforts to regulate the

 safety of the operation of the Line 5 Dual Pipelines—including through standards

 respecting perceived spill risks from the Pipelines, standards respecting span

 management, coating, and curvature, and any other standards articulated in or

 related to the purported Shutdown Order—and further preempts Defendants’

 attempts to direct Enbridge to shut down the Dual Pipelines on the basis of these

 safety concerns or any others.

 ANSWER: The State Officials admit only that Enbridge seeks the relief

 described in its Prayer for Relief. The State Officials deny the remaining

 allegations in this paragraph and deny that Enbridge is entitled to any

 such relief.

       44.      Enbridge seeks a further declaration that any enforcement of the

 1953 Easement based on safety concerns—including based on an asserted




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 “reasonably prudent” standard, or the span management, coating, and curvature

 provisions contained in the 1953 Easement—constitutes a form of state safety

 standards that are expressly preempted by the Pipeline Safety Act.

 ANSWER: The State Officials admit only that Enbridge seeks the relief

 described in its Prayer for Relief. The State Officials deny the remaining

 allegations in this paragraph and deny that Enbridge is entitled to any

 such relief.

       45.      Further, Defendant’s Shutdown Order is not compatible with, and

 conflicts with, the comprehensive federal laws, regulations, and orders governing

 Line 5. Among other federal laws including the Pipeline Safety Act and the

 implementing regulations, Enbridge’s operation of Line 5 is subject to federal

 regulation as a common carrier under the Interstate Commerce Act administered

 through the Federal Energy Regulatory Commission (“FERC”). Enbridge is also

 subject to FERC regulation of the rates and terms of service provided to shippers

 utilizing Line 5 to ensure reasonableness and non-discrimination. Where a conflict

 exists between federal and state law, the Supremacy Clause requires that the

 federal law prevail. Accordingly, Enbridge seeks a declaration that Defendants’

 actions are preempted on the basis of a conflict between federal and state law.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit only that Enbridge seeks the relief described in its Prayer




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 for Relief. The State Officials deny the remaining allegations in this

 paragraph and deny that Enbridge is entitled to any such relief.

        46.      Enbridge further seeks to enjoin Defendants from taking any steps to

 enforce the Shutdown Order to otherwise interfere with operations on Line 5 for

 reasons based on pipeline safety concerns that fall exclusively within PHMSA’s

 jurisdiction.

 ANSWER: The State Officials admit only that Enbridge seeks the relief

 described in its Prayer for Relief. The State Officials deny the remaining

 allegations in this paragraph and deny that Enbridge is entitled to any

 such relief.


                                        COUNT II

                       Violation of Interstate Commerce Clause

        47.      Enbridge repeats and realleges each and every allegation in

 Paragraphs 1 through 46 as through fully set forth herein.

 ANSWER: The State Officials repeat each and every answer to the

 allegations in paragraphs 1 through 46 as though fully set forth herein.

        48.      The Commerce Clause of the U.S. Constitution, Article I, § 8, prohibits

 States from engaging in discriminatory or protectionist actions against interstate

 commerce. The Commerce Clause also prohibits a State from regulating conduct

 outside its borders or placing an undue burden on interstate commerce.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State


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 Officials lack knowledge and information sufficient to form a belief as to

 whether the allegations in this paragraph are true in all instances and

 therefore deny the same.

       49.    The promotion and protection of interstate commerce is a central

 function of the Federal Government. The federal government has long recognized

 that the free flow of goods and materials throughout the nation is essential to the

 national economy. The federal government has also recognized the importance of

 petroleum products to the economy of the United States.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials lack knowledge and information sufficient to form a belief as to

 whether the allegations in this paragraph are true in all instances and

 therefore deny the same.

       50.    The strong federal interest in Line 5 is further underscored by

 PHMSA’s role under the Pipeline Safety Act as the exclusive regulator of Line 5’s

 safety, by FERC’s regulation of Enbridge’s common carrier obligations and

 Enbridge’s tariffs, and by the Presidential Permit held by Line 5 authorizing it to be

 used as a critically important instrumentality of foreign commerce.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials deny the allegations in this paragraph.




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       51.    Defendants’ Shutdown Order, on its face, violates the Commerce

 Clause because it would block the continued flow of interstate shipments on Line 5.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials deny the allegations in this paragraph.

       52.    Defendants’ Shutdown Order unreasonably burdens and/or

 discriminates against interstate commerce, which is impermissible under the

 Commerce Clause. Defendants’ Shutdown Order would prevent Line 5 from

 continuing to provide services relied on by businesses in and residents of numerous

 States and Canada. Such a burden on interstate pipeline traffic would be excessive

 in relation to any perceived local benefits to Michigan. The purported benefits are

 illusory or minimal because the expert federal agency (PHMSA) oversees the safety

 of Line 5 and in fact recently conducted an investigation of the Line 5 Dual

 Pipelines and confirmed that the Dual Pipelines are fit for service. PHMSA also

 regulates, to the exclusion of State safety standards, Line 5’s safety to prevent any

 release into the Great Lakes and retains the exclusive authority to close Line 5

 upon its consideration and balancing of various factors spelled out in federal law

 and following consultation with state authorities and others.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials deny the allegations in this paragraph.




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       53.     Any decision about the safety issues relating to the transportation of

 petroleum products on an interstate pipeline must be made by the Federal

 Government. Only the Federal Government may determine, taking into account

 the competing interests within the Nation as a whole, including specifically the

 factors set forth in the Pipeline Safety Act, whether the conditions within the

 Straits, or other local area, warrant a shutdown.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials deny the allegations in this paragraph.

       54.     Taking Line 5 out of service—temporarily or permanently—would

 have dire consequences for the interstate and foreign refineries supplied by Line 5.

 The affected refineries would include Marathon’s Detroit refinery, refineries in

 Ohio, all four refineries in Ontario, the United Warren refinery in western

 Pennsylvania, and the Suncor Montreal refinery. These refineries would lose

 approximately 40 percent or more, of their current crude supply. Some refineries

 could be forced to close, others would become less competitive and suffer job losses.

 By contrast, the risk of a release into the Straits is so small that it is barely

 measurable.

 ANSWER: Denied.

       55.     A closure of Line 5 would also significantly decrease the local supply of

 refined products in Michigan, Ontario, Quebec, and western Pennsylvania.

 Refineries served by Line 5 comprise the vast majority of the total refinery output




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 in the Midwest for gasoline, jet fuel, and diesel. Because Michigan is dependent on

 receipt of such refined products from other areas, any closure of Line 5 would

 require Michigan to receive refined products from as far afield as the Gulf Coast to

 compensate for reduced oil runs from refineries that currently serve Michigan,

 including the Marathon Detroit refinery. Ontario does not have excess refined

 pipeline capacity. Therefore, in the event of a Line 5 shutdown, Ontario could face

 shortages or would be required to locate additional refined products from uncertain

 sources that are not currently accessed by it.

 ANSWER: Denied.

       56.    Line 5’s uninterrupted transport of NGLs is critical for Michigan and

 Michiganders. According to the federal Energy Information Agency, in 2018,

 Michigan had the highest residential sector hydrocarbon gas liquids (mostly

 propane) consumption in the nation. Any shutdown of Line 5 would severely impact

 Michigan residents who are reliant on propane to heat their homes.

 ANSWER: The State Officials deny the allegations in this paragraph

 because they are either untrue or the State Officials lack knowledge and

 information sufficient to form a belief as to their truth.

       57.    The Rapid River depropanizer, which is fully dependent on Line 5,

 would be required to shut down, which would also result in job losses. A Line 5

 shutdown would also have a major adverse impact on the Sarnia fractitionator

 facility, which is the single largest propane production source in Eastern Canada

 and exclusively reliant on Line 5 for its NGLs.




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 ANSWER: The State Officials deny the allegations in this paragraph

 because they are either untrue or the State Officials lack knowledge and

 information sufficient to form a belief as to their truth.

       58.      Given that studies—including a State-sponsored study conducted by

 Dynamic Risk Assessment Systems, Inc., Alternatives Analysis for the Straits

 Pipeline (June 27, 2017)—have confirmed that no realistic alternatives exist to

 Line 5, any disruption of service on Line 5—planned or unplanned—would result in

 an immediate significant regional supply disruption that would impact the State

 through increased costs, potential supply shortfalls (and the public safety concerns

 that coincide with that), and reduced competitiveness.

 ANSWER: Denied.

       59.      Enbridge thereby seeks declaratory and injunctive relief finding that

 Defendants’ actions are unconstitutional under the Commerce Clause of the United

 States.

 ANSWER: The State Officials admit only that Enbridge seeks the relief

 described in its Prayer for Relief. The State Officials deny the remaining

 allegations in this paragraph and deny that Enbridge is entitled to any

 such relief.


                                       COUNT III

    Violation of Foreign Commerce Clause and Foreign Affairs Doctrine

       60.      Enbridge repeats and realleges each and every allegation in

 Paragraphs 1 through 59 as through fully set forth herein.


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 ANSWER: The State Officials repeat each and every answer to the

 allegations in paragraphs 1 through 59 as though fully set forth herein.

       61.    The Foreign Commerce Clause of the United States Constitution

 authorizes Congress to “regulate Commerce with foreign Nations and among the

 several States.” U.S. Constitution, Article I, § 8, cl. 3. The Foreign Commerce

 Clause prohibits protectionist policies and restrains the States from excessively

 interfering with foreign affairs.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials admit that this paragraph quotes part of U.S. Constitution,

 Article I, § 8, cl. 3, which speaks for itself. The State Officials lack

 knowledge and information sufficient to form a belief as to whether the

 remaining allegations in this paragraph are true in all instances and

 therefore deny the same.

       62.    Further, the Constitution, including Article II, Sections 2 and 3,

 establishes the Foreign Affairs doctrine, through which the power to regulate

 foreign affairs is reserved for the federal government. Pursuant to this authority,

 the United States establishes rules governing international trade with foreign

 countries in furtherance of national policy objectives.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State

 Officials lack knowledge and information sufficient to form a belief as to




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 whether the allegations in this paragraph are true in all instances and

 therefore deny the same.

        63.    The transportation of petroleum products on Line 5 in international

 commerce, from the U.S. to Canada, serves the U.S. national interest, as evidenced

 by the Presidential Permit issued for Line 5.

 ANSWER: Denied.

        64.    The Federal Government’s exclusive regulation of transboundary

 pipelines in foreign commerce and the important foreign policy objectives they serve

 are reflected in relevant international agreements to which the United States and

 Canada are parties. These agreements are designed to promote the flow of

 commerce and remove undue barriers to pipelines that transport hydrocarbons

 between the nations. See Canada-United States Transit Pipelines Treaty,

 Article II(1) (ratified by US Senate on August 3, 1977) (“No public authority . . .

 shall institute any measures . . . [which] have the effect of, impeding, diverting,

 redirecting or interfering with in any way the transmission of hydrocarbon in

 transit [from one nation to the other through pipelines]”); USMCA Energy

 Regulatory Measures and Regulatory Transparency Annex, Article 5(1)(a) (signed

 into law on January 29, 2020 following Congressional approval) (“Each party shall

 . . . accord[ ] access to . . . pipeline networks for the purposes of importation . . . that

 is neither unduly discriminatory nor unduly preferential”).

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the State




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 Officials deny the allegations in this paragraph because they are either

 untrue or the State Officials lack knowledge and information sufficient to

 form a belief as to their truth.

       65.     Defendants’ Shutdown Order violates the Foreign Commerce Clause

 and Foreign Affairs doctrine by seeking to, among other things:

               a. interfere with the United States to “speak with one voice” with

                  respect to transboundary shipments by pipeline;

               b. impermissibly impact conduct beyond the borders of the United

                  States by preventing continued shipments of hydrocarbons

                  originating in Canada on Line 5 from the United States to

                  refineries and other facilities in Canada;

               c. interfere with the United States’ obligations under its international

                  agreements with Canada barring undue restrictions on pipeline

                  transportation.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the allegations

 are denied.

       66.     Defendants’ Shutdown Order has more than an incidental or indirect

 effect on foreign relations.

 ANSWER: Denied.

       67.     Enbridge therefore seeks declaratory and injunctive relief holding that

 Defendants’ actions are invalid under the Foreign Commerce Clause and Foreign




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 Affairs doctrine.

 ANSWER: The State Officials admit only that Enbridge seeks the relief

 described in its Prayer for Relief. The State Officials deny the remaining

 allegations in this paragraph and deny that Enbridge is entitled to any

 such relief.

       68.      By entering and ratifying the relevant agreements pertaining to

 pipeline transportation, the federal government has expressed its intent to occupy

 the entire field of transboundary movement shipments by pipeline and has left no

 room for the State to supplement federal law. The Shutdown Order also stands as

 an obstacle to the accomplishment and execution of the full objectives of the

 international agreements. It also creates a conflict between federal and state law.

 Due to the agreements, along with other federal laws, the Supremacy Clause bars

 the Defendants’ actions.

 ANSWER: The allegations in this paragraph are legal conclusions which

 require no response. To the extent an answer is required, the allegations

 are denied.




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                               AFFIRMATIVE DEFENSES

       The State Officials may rely on any or all of the following affirmative

 defenses in this matter:

       1.        Plaintiffs’ complaint fails to state a claim on which relief can be

 granted.

       2.        Plaintiffs’ claims are barred, in whole or in part, by the Eleventh

 Amendment to the United States Constitution and the doctrine of sovereign

 immunity.

       3.        This Court should abstain given the ongoing, parallel state court

 proceedings in Nessel v. Enbridge, Ingham County Circuit Court Case No. 19-474-

 CE, which involve the same legal issues and the same parties or their privies.

       4.        Plaintiffs’ claims may be barred due to estoppel, res judicata, waiver,

 and/or laches.

       5.        In the event that the terms, conditions, or termination clause of the

 1953 Easement contract are found to be in conflict with the United States

 Constitution or federal law, the entire contract fails because the terms, conditions,

 and termination clause are non-severable provisions of the 1953 Easement contract

 without which the State of Michigan would not have agreed to it.

       6.        To the extent any assertion contained in the State Officials’ above

 answers constitutes an affirmative defense, the same is incorporated as if fully set

 forth herein.




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          7.       The State Officials reserve the right to raise any additional affirmative

 defenses that may become available or apparent following the completion of

 discovery in this matter.

          WHEREFORE, the State Officials respectfully request that this Court

 dismiss the complaint, with prejudice, and award the State Officials their costs and

 attorney fees associated with defending this matter.

                                                                Respectfully submitted,


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 Dated: June 24, 2025

 LF: Enbridge Straits (Dec & Inj Relief) (v DNR) WD/AG #2020-0306464-A/Answer to Complaint 2025-06-24




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